           Case 2:23-cr-00146-NR Document 68 Filed 10/25/23 Page 1 of 1


                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA                 )
                                         )
                                         )    2:23-CR-146-1
      v.                                 )
                                         )
BRIAN DIPIPPA,                           )
                                         )
                                         )
               Defendant.                )
                                         )
                                         )


               Hearing Type:     Oral Argument
               Date:             10/25/2023
               Before:           Judge J. Nicholas Ranjan


Counsel for Government      Shaun Sweeney
Counsel for Defendant       Michael DeRiso
Court Reporter              S. Siatkowski
Law Clerk                   JB
Start Time                  10:05 a.m.
End Time                    10:57 a.m.


                         SUMMARY OF PROCEEDINGS:

Defendant present.

Oral Argument held on Defendant’s pending Motion for Pretrial Release (ECF
54).

Testimony from Special Agent Patrick McConachie, Kasen Keys, and Dustin
Perri.

Defense Exhibit C (FBI Physical Surveillance Request) admitted (attached).

Various exhibits admitted at the 7/3/2023 detention hearing presented:
Government Exhibits 15 ("Smoke Bomb Video"); 16 ("Smoke Bomb 2 and Barriers
Video"); 17 ("Surveillance Video"); and 18 ("Surveillance Video 2").
